        Case 22-56521-sms                     Doc 5        Filed 08/22/22 Entered 08/22/22 09:40:15                                 Desc Ch 11
                                                           First Mtg I/J Page 1 of 2
 Information to identify the case:
 Debtor 1              Robert H McClure                                                         Social Security number or ITIN           xxx−xx−3814
                       First Name   Middle Name    Last Name                                    EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                       Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                                EIN     _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court Northern District of Georgia
 Court website: www.ganb.uscourts.gov                                                           Date case filed for chapter 11 8/21/22
 Case number:          22−56521−sms

Official Form 309E1 (For Individuals or Joint Debtors)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See line 10 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov). Copy fees or access charges may apply. A free automated
response system is available at 866−222−8029 (Georgia Northern). You must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                              About Debtor 1:                                               About Debtor 2:
 1. Debtor's full name                        Robert H McClure

 2. All other names used in the
    last 8 years

 3. Address                                   2350 Bentley Trail
                                              Loganville, GA 30052

                                              G. Frank Nason IV                                           Contact phone (404) 262−7373
                                              Lamberth, Cifelli, Ellis & Nason, P.A.
 4. Debtor's attorney                         Suite 435
      Name and address                        6000 Lake Forrest Drive, N.W.                               Email: fnason@lcenlaw.com
                                              Atlanta, GA 30328

 5. Bankruptcy clerk's office                 M. Regina Thomas                                            Office Hours: 8:00 a.m. − 4:00 p.m.
      Documents in this case may be filed     Clerk of Court
      at this address.                                                                                    Court website: www.ganb.uscourts.gov
      You may inspect all records filed in    1340 United States Courthouse
      this case at this office or online at   75 Ted Turner Drive SW
      https://pacer.uscourts.gov.             Atlanta, GA 30303                                           Contact phone 404−215−1000

                                                                                                           For more information, see page 2 >




Official Form 309E1 (For Individuals or Joint Debtors)                     Notice of Chapter 11 Bankruptcy Case                                       page 1
       Case 22-56521-sms                     Doc 5          Filed 08/22/22 Entered 08/22/22 09:40:15                                         Desc Ch 11
                                                            First Mtg I/J Page 2 of 2
Debtor Robert H McClure                                                                                                          Case number 22−56521−sms

 6. Meeting of creditors
     Debtors must attend the meeting to       September 21, 2022 at 02:00 PM
     be questioned under oath. In a joint                                                                       Location:
     case, both spouses must attend.          The meeting may be continued or adjourned to a later              Meeting will be telephonic. To attend,
     Bring a copy of this notice with you.    date. If so, the date will be on the court docket.                Dial: 888−902−9750 and enter:
     Creditors may attend, but are not                                                                          9635734, when prompted for
     required to do so. Cellular phones       TO THE DEBTOR: Bring an original government issued                participation code.
     and other devices with cameras are       photo ID and confirmation of social security number.
     not allowed in the building.

 7. Deadlines                                                                                                                Filing deadline for objection
     The bankruptcy clerk's office   You must file a complaint by the deadline to object to
                                     discharge or to challenge whether certain debts are                                     to discharge: First date set for
     must receive these                                                                                                      hearing on confirmation of plan. The
     documents and any               dischargeable if:                                                                       court will send you a notice of that date
     required filing fee by the                                                                                              later.
     following deadlines.
                                              • you assert that the debtor is not entitled to receive a discharge of
                                                any debts under 11 U.S.C. § 1141(d)(3) or                            Filing deadline for
                                              • you want to have a debt excepted from discharge under 11 U.S.C.
                                                § 523(a)(2), (4), or (6).                                            dischargeability complaints:
                                                                                                                             November 21, 2022

                                     Deadline for filing proof of claim:                                                     Not yet set. If a deadline is set, the
                                                                                                                             court will send you another notice.
                                     A proof of claim is a signed statement describing a creditor's claim. A proof of
                                     claim form may be obtained at www.uscourts.gov or any bankruptcy clerk's
                                     office.

                                     Your claim will be allowed in the amount scheduled unless:

                                              • your claim is designated as disputed, contingent, or unliquidated;
                                              • you file a proof of claim in a different amount; or
                                              • you receive  another notice.

                                     If your claim is not scheduled or if your claim is designated as disputed,
                                     contingent, or unliquidated, you must file a proof of claim or you might not be
                                     paid on your claim and you might be unable to vote on a plan. You may file a
                                     proof of claim even if your claim is scheduled.

                                     You may review the schedules at the bankruptcy clerk's office or online at
                                     https://pacer.uscourts.gov.

                                     Secured creditors retain rights in their collateral regardless of whether they
                                     file a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction
                                     of the bankruptcy court, with consequences a lawyer can explain. For
                                     example, a secured creditor who files a proof of claim may surrender
                                     important nonmonetary rights, including the right to a jury trial.


                                     Deadline to object to exemptions:                                                       Filing Deadline:
                                     The law permits debtors to keep certain property as exempt. If you believe              30 days after the conclusion of the
                                     that the law does not authorize an exemption claimed, you may file an                   meeting of creditors
                                     objection.

                                              If you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
 8. Creditors
    address
              with a foreign                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                              any questions about your rights in this case.

                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
 9. Filing a Chapter 11
    bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee
                                              is serving, the debtor will remain in possession of the property and may continue to operate the debtor's
                                              business.

                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt.
                                              See 11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until
                                              all payments under the plan are made. A discharge means that creditors may never try to collect the debt
                                              from the debtors personally except as provided in the plan. If you believe that a particular debt owed to you
 10. Discharge of debts                       should be excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint
                                              and pay the filing fee in the bankruptcy clerk's office by the deadline. If you believe that the debtors are not
                                              entitled to a discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay
                                              the filing fee in the clerk's office by the first date set for the hearing on confirmation of the plan. The court will
                                              send you another notice telling you of that date.

                                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                              distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed
 11. Exempt property                          as exempt. You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If
                                              you believe that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                              The bankruptcy clerk's office must receive the objection by the deadline to object to exemptions in line 7.

Official Form 309E1 (For Individuals or Joint Debtors)                       Notice of Chapter 11 Bankruptcy Case                                                page 2
